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                         IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF SOUTH CAROLINA
                                  COLUMBIA DIVISION

United States of America,                         )              C/A No. 3:19-2094-PJG
                                                  )
                               Plaintiff,         )
                                                  )
       v.                                         )
                                                  )
46,740 dollars in United States Currency,         )                      ORDER
Asset ID: 19-DEA-651054,                          )
                                                  )
                               Defendant,         )
                                                  )
Collette Pinkard,                                 )
                                                  )
                               Claimant.          )
                                                  )

       The United States filed a Complaint in this civil forfeiture action on July 26, 2019. (ECF

No. 1.) Claimant Collette Pinkard, proceeding without counsel, has responded with a claim and

answer, asserting an ownership interest in the subject property. (ECF Nos. 8 & 29.)

       The United States now moves to strike the claim and answer due to Pinkard’s failure to

provide complete responses to the United States’ special interrogatories. (ECF No. 42.) The

United States indicates it served Pinkard with special interrogatories pursuant to Rule G(6) of the

Supplemental Rules for Admiralty or Maritime Claims and Forfeiture Actions on February 5,

2020. (Ex. 1, ECF No. 42.) Pinkard provided answers to the special interrogatories, (Ex. 2, ECF

No. 42), but the United States argues those answers are incomplete because they mostly just assert

that the information requested by the United States is “available” in the Clerk of Court. The court

agrees that Pinkard’s answers are insufficient. See Rule G(6)(a) (providing that the scope of the

special interrogatories is to identify the claimant and her relationship to the property in dispute).




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       In light of Pinkard’s pro se status, the court directs Pinkard to file complete and responsive

answers to the United States’s special interrogatories pursuant Rule G(6) within fourteen (14)

days from the date this order is entered (plus three days for mail time). Pinkard is warned that

failure to provide complete and responsive answers to the United States’s special interrogatories

may result in her claim and answer being struck pursuant to Rule G(8).

       IT IS SO ORDERED.



                                              __________________________________________
June 25, 2020                                 Paige J. Gossett
Columbia, South Carolina                      UNITED STATES MAGISTRATE JUDGE




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